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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                  Holding a Criminal Term
                          Grand Jury Sworn in on February 14, 2022
 UNITED STATES OF AMERICA                        :    CRIMINAL NO. 21-cr-24 (EGS)
                                                 :
             v.                                  :
                                                 :    18 U.S.C. §§ 1512(c)(2), 2
 ROBERT GIESWEIN,                                :    (Obstruction of an Official Proceeding)
                                                 :
                    Defendant.                   :    18 U.S.C. §§ 231(a)(3), 2
                                                 :    (Obstruction of Law Enforcement During
                                                 :    Civil Disorder)
                                                 :
                                                 :    18 U.S.C. §§ 111(a)(1) and (b)
                                                 :    (Assaulting, Resisting, or Impeding Certain
                                                 :    Officers Using a Dangerous Weapon)
                                                 :
                                                 :    18 U.S.C. §§ 1361, 2
                                                 :    (Destruction of Government Property)
                                                 :
                                                 :    18 U.S.C. §§ 1752(a)(1), (b)(1)(A)
                                                 :    (Entering or Remaining in Restricted
                                                 :    Building or Grounds with a Deadly or
                                                      Dangerous Weapon)
                  SECONDSUPERSEDINGINDICTMENT

       The Grand Jury charges that:
                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, ROBERT GIESWEIN

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, a

proceeding before Congress, specifically, Congress’s certification of the Electoral College vote as

set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

       (Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
       18, United States Code, Sections 1512(c)(2) and 2)
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                                           COUNT TWO

       On or about January 6, 2021, within the District of Columbia, ROBERT GIESWEIN,

committed and attempted to commit acts, that is pushing on a police barricade on a plaza to the

west of the U.S. Capitol building and repeatedly spraying a substance at law enforcement officers

at or near the top of a set of stairs on U.S. Capitol grounds as described in Counts Four, Five, and

Six, to obstruct, impede, and interfere with law enforcement officers, lawfully engaged in the lawful

performance of their official duties, and did aid and abet others known and unknown to do the same,

incident to and during the commission of a civil disorder which in any way and degree obstructed,

delayed, and adversely affected commerce and the movement of any article and commodity in

commerce and the conduct and performance of any federally protected function.

       (Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
       Sections 231(a)(3) and 2)

                                          COUNT THREE

       On or about January 6, 2021, at approximately 1:47 p.m., within the District of Columbia,

ROBERT GIESWEIN, did forcibly assault, resist, oppose, impede, intimidate, and interfere with,

an officer and employee of the United States, and of any branch of the United States Government

(including any member of the uniformed services), that is, officers of the United States Capitol

Police and Metropolitan Police Department, including N.M., while such officer or employee was

engaged in or on account of the performance of official duties by throwing a water bottle at a line

of officers actively trying to contain a civil disorder, and where the acts in violation of this section

involved the intent to commit another felony.

       (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
       States Code, Section 111(a)(1))




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                                          COUNT FOUR

       On or about January 6, 2021, at approximately 2:03 p.m., within the District of Columbia,

ROBERT GIESWEIN, using a deadly or dangerous weapon, that is, an aerosol irritant spray and

baseball bat, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer

and employee of the United States, and of any branch of the United States Government (including

any member of the uniformed services), that is, M.F., A.D., and J.M., officers from the United

States Capitol police, while such officer or employee was engaged in or on account of the

performance of official duties, and where the acts in violation of this section involved the intent to

commit another felony.

       (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
       violation of Title 18, United States Code, Sections 111(a)(1) and (b))

                                          COUNT FIVE

       On or about January 6, 2021, at approximately 2:09 p.m., within the District of Columbia,

ROBERT GIESWEIN, using a deadly or dangerous weapon, that is, an aerosol irritant spray and

baseball bat, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer

and employee of the United States, and of any branch of the United States Government (including

any member of the uniformed services), that is, officers from the United States Capitol police, while

such officer or employee was engaged in or on account of the performance of official duties, and

where the acts in violation of this section involved the intent to commit another felony.

       (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
       violation of Title 18, United States Code, Sections 111(a)(1) and (b))




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                                            COUNT SIX

       On or about January 6, 2021, within the District of Columbia, at approximately 2:10 p.m.,

ROBERT GIESWEIN, using a deadly or dangerous weapon, that is, an aerosol irritant spray and

baseball bat, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer

and employee of the United States, and of any branch of the United States Government (including

any member of the uniformed services), that is, officers from the United States Capitol police, while

such officer or employee was engaged in or on account of the performance of official duties, and

where the acts in violation of this section involved the intent to commit another felony.

       (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
       violation of Title 18, United States Code, Sections 111(a)(1) and (b))

                                          COUNT SEVEN

       On or about January 6, 2021, within the District of Columbia, ROBERT GIESWEIN,

committed and attempted to commit acts, that is spraying a substance at officers near a room

adjacent to the Crypt in the U.S. Capitol as described in Count Eight, spraying a substance at officers

in or near the Capitol Visitor’s Center as described in Count Nine, and pushing with other

individuals against a line of officers at an exit from an area of the Capitol known as the Rotunda,

to obstruct, impede, and interfere with law enforcement officers, lawfully engaged in the lawful

performance of their official duties, and did aid and abet others known and unknown to do the same,

incident to and during the commission of a civil disorder which in any way and degree obstructed,

delayed, and adversely affected commerce and the movement of any article and commodity in

commerce and the conduct and performance of any federally protected function.

       (Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
       Sections 231(a)(3) and 2)




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                                          COUNT EIGHT

          On or about January 6, 2021, at approximately 2:30 p.m., within the District of Columbia,

ROBERT GIESWEIN, using a deadly or dangerous weapon, that is, an aerosol irritant spray and

baseball bat, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer

and employee of the United States, and of any branch of the United States Government (including

any member of the uniformed services), that is, C.N. and C.S., officers from the United States

Capitol police, while such officer or employee was engaged in or on account of the performance of

official duties, and where the acts in violation of this section involved the intent to commit another

felony.

          (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
          violation of Title 18, United States Code, Sections 111(a)(1) and (b))

                                           COUNT NINE

          On or about January 6, 2021, at approximately 2:39 p.m., within the District of Columbia,

ROBERT GIESWEIN, using a deadly or dangerous weapon, that is, an aerosol irritant spray and

baseball bat, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer

and employee of the United States, and of any branch of the United States Government (including

any member of the uniformed services), that is, N.V., an officer from the United States Capitol

police, while such officer or employee was engaged in or on account of the performance of official

duties, and where the acts in violation of this section involved the intent to commit another felony.

          (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
          violation of Title 18, United States Code, Sections 111(a)(1) and (b))




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                                           COUNT TEN

       On or about January 6, 2021, within the District of Columbia, ROBERT GIESWEIN did

willfully injure and commit depredation against property of United States, and of any department

and agency thereof, and any property which has been and is being manufactured and constructed

for the United States, and any department or agency thereof, that is, a window of the U.S. Capitol,

causing damage in an amount more than $1,000.

       (Destruction of Government Property and Aiding and Abetting, in violation of Title 18,
       United States Code, Sections 1361 and 2)

                                        COUNT ELEVEN

       On or about January 6, 2021, within the District of Columbia, ROBERT GIESWEIN did

unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, or otherwise restricted area within the United States Capitol and its grounds, where

the Vice President was temporarily visiting, without lawful authority to do so, and, during and in

relation to the offense, did use and carry a deadly and dangerous weapon, that is, an aerosol irritant

spray and a baseball bat.

       (Entering and Remaining in a Restricted Building or Grounds with a Deadly or
       Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and
       (b)(1)(A))

                                              A TRUE BILL:


                                              FOREPERSON.


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Attorney of the United States in
and for the District of Columbia.




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